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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 HUMAN RIGHTS DEFENSE
 CENTER,

 Plaintiff,                                      Case No. 18-cv-01136

 v.                                              Judge Mary M. Rowland

 John Baldwin, et al.

 Defendants.

                     MEMORANDUM OPINION AND ORDER

      Human Rights Defense Center (“HRDC”) has sued 22 individual Defendants who

are former or current Illinois Department of Corrections (“IDOC”) employees under

42 U.S.C. § 1983, alleging that various of IDOC’s mail publication review policies

facially violate the First and Fourteenth Amendments, and that IDOC committed

several violations of the same amendments as applied to HRDC. Before the Court

now are the parties’ cross-motions for summary judgment. For the reasons stated

below, both parties’ motions [290][305] are granted in part and denied in part.

                        SUMMARY JUDGMENT STANDARD

      Summary judgment is proper where “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

A genuine dispute as to any material fact exists if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The substantive law controls which facts are

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material. Id. After a “properly supported motion for summary judgment is made, the

adverse party ‘must set forth specific facts showing that there is a genuine issue for

trial.’” Id. at 250 (quoting Fed. R. Civ. P. 56(e)).

   The Court “consider[s] all of the evidence in the record in the light most favorable

to the non-moving party, and [ ] draw[s] all reasonable inferences from that evidence

in favor of the party opposing summary judgment.” Logan v. City of Chicago, 4 F.4th

529, 536 (7th Cir. 2021) (quotation omitted). The Court “must refrain from making

credibility determinations or weighing evidence.” Viamedia, Inc. v. Comcast Corp.,

951 F.3d 429, 467 (7th Cir. 2020) (citing Anderson, 477 U.S. at 255). In ruling on

summary judgment, the Court gives the non-moving party “the benefit of reasonable

inferences from the evidence, but not speculative inferences in [its] favor.” White v.

City of Chicago, 829 F.3d 837, 841 (7th Cir. 2016) (internal citations omitted). “The

controlling question is whether a reasonable trier of fact could find in favor of the

non-moving party on the evidence submitted in support of and opposition to the

motion for summary judgment.” Id.

   Where, as here, the parties have filed cross-motions summary judgment, the

standard is unchanged. Blow v. Bijora, Inc., 855 F.3d 793, 797 (7th Cir. 2017). The

Court must construe all facts and inferences arising from the parties’ motions “in

favor of the party against whom the motion under consideration is made.” Id.

                                       BACKGROUND1

  I.      Plaintiff


1 The facts are taken from the numerous statements of fact that the parties filed in this action

and are undisputed unless otherwise noted.
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  HRDC is a non-profit 501(c)(3) corporation headquartered in Florida. [308] ¶ 1.

HRDC’s mission is public education, advocacy, and outreach on behalf of, and for the

purpose of assisting, prisoners who seek legal redress for infringements of their

constitutional and human rights. [308] ¶ 1. HRDC publishes two monthly journals

that are relevant in this litigation: Prison Legal News (“PLN”) and Criminal Legal

News (“CLN”). [308] ¶¶ 2-3. PLN is a monthly newsprint that has been continuously

published since 1990, and it provides information about legal issues, access to courts,

disciplinary hearings, prison conditions, excessive force, mail censorship, prison and

jail litigation, visitation, telephones, religious freedom, sexual violence in prisons,

and the death penalty. [308] ¶ 2. CLN is a monthly newsprint that has been published

continuously since December 2017 that focuses on a review and analysis of individual

rights, court rulings and news about criminal legal issues. [308] ¶ 3. HRDC only

communicates with inmates through mailed correspondences like PLN and CLN; it

does not broadcast television or radio programs, nor does it send visitors to inmates.

[308] ¶ 4.

  II.    IDOC Publication Review Policy

  The IDOC’s publication review policy and procedures are contained in

Administrative Directive (“AD”) 04.01.108. [308] ¶ 93. Prior to this lawsuit, AD

04.01.108 was last updated in 2006 (the “2006 AD”). The AD has since been revised

at least twice: once in 2019 (the “2019 AD”) and once in 2022 (the “2022 AD”). [308] ¶

94. Under all three ADs, if a publication is censored, an IDOC facility is required to

provide notice to the publisher only if the publication “was [mailed or] received



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directly from the [p]ublisher.” [308] ¶ 95 IDOC facilities were not and are not required

to provide notice to a distributor of a publication. [308] ¶ 95.

         a. The 2006 AD

  Under the 2006 AD, when a publication review officer (“PRO”) began a preliminary

review process of a given publication, they were required to send a “DOC 211” form

to the publisher (if the publication came directly from the publisher, rather than a

distributor) and the intended recipient of the publication to alert both parties of the

review. See [308] ¶ 96; [326] ¶ 13. The PRO was required to note on the DOC 211

form the rationale for the review and to tell the publisher that the publication was

undergoing a review; the DOC 211 form did not tell either the publisher or the

intended recipient that the publication had been censored or that a final

determination had been made. [308] ¶ 96. Neither the 2006 AD nor the DOC 211 form

required that a publisher be notified of the specific parts or pages of the publication

that were potentially objectionable. [308] ¶ 97. If after receiving a DOC 211 form a

publisher submitted a timely objection, the 2006 AD required that a PRO at the same

facility conduct a final review within 30 days.

  The PRO conducting the final review was required to make a final recommendation

to either approve, disapprove, or conditionally approve the publication using a “DOC

212” form. [308] ¶ 98. The PRO’s recommendation then went to the warden of the

facility. [308] ¶ 98. If the warden did not think the publication should have been

withheld, the reviewing PRO was to immediately forward the publication to its

intended recipient. [326] ¶ 14. If the warden thought the publication should have



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been disapproved or conditionally approved, the warden was to send the publication

to the Central Publications Review Committee (“CPRC”) for review. [308] ¶ 98.

Regardless of the CPRC’s decision, however, the warden retained the final say on

censorship. [308] ¶ 99. The 2006 AD did not allow a publisher to appeal a censorship

decision; it only allowed for a publisher to file an objection after receiving a DOC 211

form indicating that a publication was being reviewed. [308] ¶ 99. Further, a

publisher would not receive notice of the final censorship decision unless the prisoner

to whom the publication was mailed challenged the DOC 212 censorship

determination. [308] ¶ 100.

  While the 2006 AD was in effect, each IDOC facility had their own list of approved,

disapproved, and conditionally approved publications. [308] ¶ 101. The 2006 AD

further specified that publications could be censored if, among other things, the

publication was “obscene,” “include[d] sexually explicit material that by its nature or

content poses a threat to security, good order of the facility, or discipline or it

facilitates criminal activity,” or was “otherwise detrimental to security, good order of

the facility, rehabilitation or discipline, or it might facilitate criminal activity or be

detrimental to mental health.” Pls. Ex. 92.

         b. The 2019 AD

  Under the 2019 AD, the review and notification process for censored materials

were similar in large part to the 2006 AD. If a warden concurred with a PRO’s

recommendation to conditionally approve or disapprove the publication, the prisoner

was notified using a revised DOC 212 form. [308] ¶ 102. The prisoner then had 14



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days to return the DOC 212 form and indicate whether or he or she wanted the CPRC

to review the publication. [308] ¶ 103. If the prisoner actively chose to waive review

of the publication, the publication would be disposed of and the publisher would not

receive notice. [308] ¶ 103. If the prisoner either requested review by the CPRC or

failed to respond with their preferred course of action, the reviewing PRO was

required to forward the DOC 212 form to the CPRC, and the CPRC Chairman was

required to determine whether the publication should be approved, conditionally

approved, or disapproved. [308] ¶ 104. If the CPRC disapproved or conditionally

approved the publication and if the publication was mailed directly from the

publisher, the publisher received notice of the censorship. [308] ¶ 105. The publisher

then had 30 days to file an appeal. [308] ¶ 105. Unlike the 2006 AD, under the 2019

AD (and all relevant subsequent ADs), the CPRC is responsible for the final decision

to censor any publications. [326] ¶¶ 9-10

  The 2019 AD updated the categories of material under which a PRO could

disapprove of a publication. In relevant part, publications could be censored if they

“contain[ed] sexually explicit material,” (the “Sexually Explicit Provision”),

“contain[ed] security threat group (STG) material or depictions of hand signs or

symbols that appear to be related to an STG and could promote or enhance the image

of an STG within the facility or may be interpreted as legitimizing gang behavior,”

(the “STG Provision”), or if it was “detrimental to the security or good order of the

facility,” (“the Catch All Provision”). The 2019 AD did not define STGs, but it defined

“sexually explicit material” as:



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      “[A]ny publication that contains pictorial depictions of actual or
      simulated sexual acts including intercourse, oral sex or masturbation;
      any publication that by word or picture depicts or describes illegal
      activity of a sexual nature, sadomasochism, bestiality, sexual activity
      involving children (whether actual or perceived) or any publication that
      depicts or describes anything otherwise contrary to law. Publications
      that contain nudity without additional elements as provided above or
      publications that provide research or opinions on sexual health,
      reproductive issues or are scientific in nature shall not be considered
      sexually explicit.”

  In the “Mental Health Provision,” the 2019 AD allowed for censorship of a

publication when the publication was:

      “determined by a mental health professional or counselor to be
      detrimental to mental health or rehabilitation. Disapproval of
      publications under this criterion shall be made on a case-by-case basis
      and documentation of the mental health professional or counselor’s
      determination shall be provided to the Central Publications Review
      Committee with the Publication Review Determination and Course of
      Action, DOC 0212”

         c. The 2022 AD

  Under the 2022 AD, at least three people — the PRO, the warden, and the chair of

the CPRC — must agree to withhold a publication before publication can be censored.

[326] ¶ 11. If the CPRC chair finds that the publication clearly violates the standards

set forth the in the AD, the CPRC chair is to document those results in a DOC 212

form and send the form to the publisher. [326] ¶¶ 16-17. If the CPRC chair finds that

there is a question as to whether the publication violates the AD’s standards, the

publication is brought before the entire CPRC for consideration. [326] ¶ 16. A

publisher can appeal an unfavorable decision within 35 days of receiving notice, and

the appeal is heard by the IDOC’s Chief of Operations and the Chief of Programs.




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[325] ¶ 17. The intended recipient does not have the opportunity to appeal a decision

to disapprove or conditionally approve a publication. [326] ¶ 19.

    The 2022 AD also contains modest changes to the categories of content that can

be censored. The Sexually Explicit provision was expanded to create an exception for

“news coverage on sexual assault, on sexual health, [and] reproductive issues.” Pls.

Ex. 95 at 2. Additionally, the Catch-All Provision and STG provision were combined

into one larger provision, which prohibits publications that are “detrimental to the

safety, security, or good order of the facility,” and which includes publications that

“[c]ontain content concerning security threat groups (STG) or depictions of handsigns

or symbols that appear to be related to a STG and could promote or enhance the image

of a STG within the facility or may be interpreted as legitimizing gang behavior.” Pls.

Ex. 95 at 4-5.2

   III.    PLN and CLN Censorship

   Individuals who are incarcerated at IDOC facilities can freely subscribe to PLN

and CLN. [326] ¶ 20. Between 2017 and 2019, HRDC had between 179 and 400

subscribers in IDOC facilities. [326] ¶ 22. The parties dispute the precise number of

instances of censorship, but they appear to agree that the admissible evidence

supports a finding of somewhere between 18 and 29 distinct instances of censorship.

See [308] ¶¶ 81, 84.

   There are IDOC forms or IDOC paperwork evidencing that the following issues of

PLN and CLN were censored by various IDOC facilities. The chart below summarizes


2 The 2022 AD catch-all provision contains three other examples of material that is detrimental to the

safety, security, or good order of the facility, but those are not relevant in this action.

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the issues relevant to this case, the facility or facilities at which the issues were

purportedly censored, and whether HRDC received notice of the censorship.

 No.         Issue                         Date                 Facility             Notice Received
       1.    PLN Vol. 25, No. 26           June 2014            Menard               Yes
       2.    PLN Vol. 26, No. 11           November             Menard               Yes
                                           2015
       3.    PLN Vol. 27, No. 3            March 2016           Decatur              Yes
       4.    PLN Vol. 27, No. 6            June 2016            Menard               Yes
       5.    PLN Vol. 27, No. 7            July 2016            Western              No
                                                                Illinois
       6.    PLN Vol. 27, No. 11           November             Menard               Yes
                                           2016
       7.    PLN Vol. 28, No. 1            January 2017  Vienna     and              Yes
                                                         Big Muddy  3

       8.    PLN Vol. 28, No. 2            February 2017 Big Muddy                   No
       9.    PLN Vol. 28, No. 3            March 2017    Big Muddy                   No
       10.   PLN Vol. 28, No. 4            April 2017    Big Muddy                   No
       11.   PLN Vol. 28, No. 8            August 2017   Pontiac,                    No
                                                         Menard,
                                                         Robinson, and
                                                         Stateville
       12. PLN Vol. 28, No. 10             October 2017  Southwestern                No
                                                         and Robinson
       13.   PLN Vol. 29, No. 1            January 2018 Menard                       No
       14.   PLN Vol. 29, No. 2            February 2018 Big Muddy                   No
       15.   PLN Vol. 29, No. 3            March 2018    Big Muddy                   No
       16.   PLN Vol. 29, No. 5            May 2018      Big Muddy                   No
       17.   PLN Vol. 29, No. 6            June 2018     Big Muddy                   No
       18.   PLN Vol. 29, No. 7            July 2018     Big Muddy                   No
       19.   PLN Vol. 29, No. 8            August 2018   Western                     Yes
                                                         Illinois   and
                                                         Big Muddy



3 The parties dispute PLN Vol. 28, No. 1. In their response to Plaintiff’s statement of facts, Defendants

suggest that there is no evidence that the issue was censored at any IDOC facilities. See [308] ¶ 82
(“Disputed that PLN Vol. 28, No. 1 (January 2017) was withheld in whole or in part from any
individual in custody in any IDOC facility, as the evidence cited in subpart vii does not support this
proposition.”). However, elsewhere in their response, Defendants admit that the issue was in fact
censored at Vienna and Big Muddy. See [308] ¶¶ 91, 135. Plaintiffs argue that it was also censored at
Menard, but the evidence does not support that proposition. See Plaintiff’s Ex. 54. Because Defendants
do not dispute that the issue was withheld at Big Muddy and Vienna, the Court will consider that fact
to be undisputed purposes of summary judgment.

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     20. PLN Vol. 30, No. 11              November            Menard4                Disputed5
                                          2019
     21. CLN Vol. 1, No. 10               September           Western        Disputed6
                                          2018                Illinois   and
                                                              Saul Berry


         After cross-motions for summary judgment were briefed, HRDC filed an

additional statement of facts that detailed declarations from six inmates at various

IDOC facilities who claimed to have not received HRDC publications in 2024. [338].

There are genuine disputes of fact as to whether any IDOC employees or any of the

named defendants censored those publications or otherwise caused the inmates to

not receive the publications. See [351].

   IV.     Defendants

    The Defendants in this action can be broadly categorized as either “Director

Defendants,” “Warden Defendants,” or “Publication Review Officers and Staff [PRO]

Defendants.” Director Defendants were the highest ranking IDOC officials and

generally had responsibility for managing IDOC policies and ensuring their

compliance with the law. [308] ¶¶ 6-11. Warden Defendants include wardens at

various IDOC facilities, and the degree to which they had responsibility over the

publication review process at their facilities varied. See [308] ¶¶ 12-58. PRO

Defendants were responsible for reviewing and censoring publications received at

their respective IDOC facilities. [308] ¶¶ 59 – 80. The following chart identifies the

defendants by name, role, facility and the relevant years they worked at that facility.


4 The parties dispute whether this issue was censored at Taylorville. [308] ¶ 155.
5 See [308] ¶ 155.
6 See [308] ¶ 156.


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 Defendant       Role                     Facility            Relevant Timeframe
 Jeffreys7       Director                 All Facilities      June 2019 – June 2021
                                                              (Acting Director); June
                                                              2021     –    April    2023
                                                              (Director)
 Baldwin         Director                 All Facilities      August 2015 – May 2019
 Butler          Warden                   Menard              2014 – 2016
 Dennison        Warden                   Shawnee             March 2016 – June 2016
                                                              (Acting Warden); June
                                                              2016 – January 2020
                                                              (Warden)
 Dorethy         Warden                   Hill                2014 – 2020
 Gomez           Warden                   Sheridan,           2016 – 2020 (Sheridan);
                                          Stateville          2020 – Present (Stateville)
 Hansbro         Warden                   Decatur             2010 – 2018
 Jaimet          Warden                   Pinckneyville       January 2017 – June 2018
 Lashbrook       Warden                   Menard              January 2017 – February
                                                              2019
 Melvin          Warden                   Pontiac             2015 – 2017
 Pfister         Warden                   Pontiac; Stateville 2011 – 2015 (Pontiac); 2015
                                                              – 2018, 2019 – 2020
                                                              (Stateville)
 Rains           Warden                   Robinson            2015 – 2016 (Assistant
                                                              Warden); 2016 – 2018
                                                              (Warden)
 Sullivan        Warden                   Big Muddy           2017 – 2020
 Swalls          Warden                   Vienna              April 2017 – January 2020
 Watson          Warden                   Western Illinois    April 2017 – January 2020
 Anderson        PRO                      Western Illinois    2010 – 2017
 Bradley         PRO                      Menard              November 2015 – April
                                                              2017
 Carter          PRO                      Decatur             2014 – 2018
 Rose            PRO                      Menard              2012 – 2016
 Scott           PRO                      Menard              2015 – 20188
 Shemonic        PRO                      Menard              2009 – 2012 (PRO); 2012 –
                                                              2018 (CPRC)
                                            ANALYSIS




7 Pursuant to Fed.R.Civ.Pro. 25(d), Jeffreys’ successor, Ms. Latoya Hughes, is substituted as a party

in her official capacity.
8 Scott served as a PRO temporarily and non-continuously during this period. [308] ¶ 74.


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       In Counts I and II of the second amended complaint, HRDC alleges the 2006

AD, 2019 AD, and 2022 AD violate the First and Fourteenth Amendment facially and

as applied to HRDC, respectively. The parties moved for summary judgment on both

counts. Defendants raise several threshold arguments.

  I.     Standing for Injunctive and Declaratory Relief

   HRDC argues the 2022 AD’s prohibition on STG Provision and Sexually Explicit

Material Provision both violate the First Amendment. Defendant argues that HRDC

has not established that any of its publications were censored pursuant to eitherof

those provisions, and that as a result HRDC lacks the injury necessary for Article III

standing. The Court disagrees.

   Standing exists (1) “when the plaintiff suffers an actual or impending injury;” (2)

“the injury is caused by the defendants’ acts;” and (3) “a judicial decision in the

plaintiff’s favor would redress the injury.” Ezell v. City of Chicago, 651 F.3d 684, 694-

95 (7th Cir. 2011). But “standing rules are relaxed for First Amendment cases so that

citizens whose speech might otherwise be chilled by fear of sanction can prospectively

seek relief.” Nat’l Press Photographers Ass’n v. McCraw, 90 F.4th 770, 782 (5th Cir.

2024). In Speech First, the Seventh Circuit acknowledged two different ways that a

plaintiff can establish standing in a First Amendment action prior to any actual

censorship occurring. “First, a plaintiff may show an intention to engage in a course

of conduct arguably affected by a policy, and that he faces a credible threat the policy

will be enforced against him when he does. Speech First, Inc. v. Killeen, 968 F.3d 628,

638 (7th Cir. 2020), as amended on denial of reh'g and reh'g en banc (Sept. 4, 2020)



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(citing Am. Civil Liberties Union of Ill. v. Alvarez, 679 F.3d 583, 590–91 (7th Cir.

2012)). “Second, a plaintiff may show a chilling effect on his speech that is objectively

reasonable, and that he self-censors as a result.” Id. (citing Bell v. Keating, 697 F.3d

445, 454 (7th Cir. 2012)).

   HRDC has established standing to challenge the STG Provision of the 2022 AD

under the first of the Speech First methods. Two of Defendants’ own experts indicated

they would censor HRDC publications related to gang activity. Pls. Ex. 140 at 57; Def.

Ex. 6 at 15. Defendants themselves have argued that HRDC may need to “edit its

materials to avoid violating IDOC policy.” [306] at 23. HRDC has thus established it

intends “to engage in a course of conduct arguably affected by [the 2022 AD’s STG

policy], and that [it] faces a credible threat the policy will be enforced against” it.

Speech First, 968 F.3d at 638.

   Conversely, HRDC has not established that it faces a credible threat of being

censored under the Sexually Explicit Provision. There is no admissible evidence in

the record suggesting that any of HRDC’s publications have been censored pursuant

to this provision. The parties agree that Defendants have censored at least some

publications at Big Muddy that featured pictures of women (including one

advertisement for a post-conviction law firm featuring a fully clothed female lawyer)

as being “inappropriate.” Defendants insist that this advertisement was censored not

under the Sexually Explicit Provision of the AD, but rather under the unchallenged

Mental Health Provision that allows a mental health provider to censor materials

deemed detrimental to the mental health of sexually dangerous persons (“SDPs”).



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Indeed, the only relevant publications were withheld from two SDPs at Big Muddy;

other inmates at the same facility received the publications without issue. HRDC

argues this is only a post-hoc rationalization for the censorship because the Mental

Health Provision requires that the reviewing mental health provider document his or

her decision in a DOC 211 or DOC 212 form, and Defendants have produced no

evidence of any such documentation. But all of publications that HRDC alleges were

censored under the Sexually Explicit Provision were published in 2017 or 2018, and

the documentation requirement did not appear in the Mental Health Provision until

the 2019 AD. As such, there is no admissible evidence in the record establishing that

any of HRDC’s publications were censored under the Sexually Explicit Provision, and

there is no admissible evidence demonstrating that HRDC has reason to fear

censorship under the Sexually Explicit Provision. HRDC does not have standing to

seek injunctive or declaratory relief related to that provision. 9

  II.     Mootness of Injunctive and Declaratory Relief for Claims under the
          2006 and 2019 ADs

   Defendants argue that HRDC cannot receive declaratory or injunctive relief

related to the 2006 AD or 2019 AD because they have been superseded by the 2022

AD. Claims for declaratory judgment are moot where “relief . . . would have no impact

on the parties to th[e] suit,” Tobin for Governor v. Ill. State Bd. of Elections, 268 F.3d

517, 528 (7th Cir.2001), and claims for injunctive relief are moot when the “event to

be enjoined has come and gone.” Prison Legal News v. Fed. Bureau of Prisons, 944


9 Defendants also argue that HRDC does not have standing to challenge the “effectiveness” of the

CPRC. But none of HRDC’s claims are premised on the effectiveness of the CPRC. The Court does not
address this issue further.

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F.3d 868, 882 (10th Cir. 2019) (citing Citizen Ctr. v. Gessler, 770 F.3d 900, 907 (10th

Cir. 2014)). In Prison Legal News, the Tenth Circuit rejected PLN’s claims for

declaratory and injunctive relief because the Bureau of Prisons delivered the at-issue

publications to the inmates to whom they were sent. Id. at 882-83.

   While the parties talk about mootness for injunctive and declaratory relief at

times interchangeably, HRDC here brings so many claims against several polices that

it is necessary to discuss each claim individually.

   First, HRDC seeks a declaration that the 2019’s STG Provision, Sexually Explicit

Provision, and Catch All Provision are facially unconstitutional. The undisputed

evidence shows that only one of HRDC’s publications was censored while the 2019

AD was in effect. As will be discussed further below, there is no evidence that that

article was censored pursuant to any of the provisions that HRDC takes issue with.

As a result, relief declaring that these policies are unconstitutional “would be no more

than an advisory opinion, which … federal courts are without constitutional authority

to issue.” St. John's United Church of Christ v. City of Chicago, 502 F.3d 616, 627

(7th Cir. 2007). HRDC’s facial attack on the constitutionality of these provisions is

moot.

   HRDC also seeks a declaration that the notice and appeal provisions in the 2006

AD and 2019 AD notice provisions are facially unconstitutional. There is evidence

that HRDC was improperly deprived of notice and the opportunity to appeal while

both ADs were in effect, and that the deprivation occurred as a direct result of the




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challenged policies. See, e.g., [308] ¶ 68. There is thus a live dispute between the

parties and HRDC’s claim for declaratory relief is not moot.

   Finally, HRDC seeks injunctive relief as appropriate for the alleged First

Amendment and Fourteenth Amendment violations while both the 2006 and 2019

ADs were in effect. As to the First Amendment violations—HRDC argues (1) that

Defendants improperly censored certain publications, (2) that HRDC still has copies

of those publications, and (3) if Defendants are so enjoined, HRDC can re-send the

publications to their intended recipients. As to the Fourteenth Amendment

violations, Defendants could be enjoined into allowing HRDC to appeal censorship

decisions for which HRDC was denied notice. In other words, the event to be enjoined

has not yet passed. HRDC’s claims for injunctive relief are thus not moot.

  III.   Statute of Limitations

   Defendants argue that any claims relating to censorship decisions made before

February 13, 2016 are barred by the statute of limitations. The Court agrees.

   The parties agree that because § 1983 does not contain a statute of limitations,

Illinois federal courts apply the two-year statute of limitations set forth in 735 ILCS

§ 5/13-202 for personal injury claims in Illinois. See Manuel 28 v. City of Joliet, 903

F.3d 667, 668 (7th Cir. 2018). The parties dispute when or whether HRDC’s claims

began to accrue, however. Accrual occurs “when the plaintiff has a complete and

present cause of action, . . . that is, when the plaintiff can file suit and obtain relief."

Id. (quotations omitted).




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   HRDC argues that Defendants’ First and Fourteenth Amendment violations

constitute a “continuing violation” that delays accrual. “A violation is called

‘continuing,’ signifying that a plaintiff can reach back to its beginning even if that

beginning lies outside the statutory limitations period, when it would be

unreasonable to require or even permit him to sue separately over every incident of

the defendant's unlawful conduct.” Heard v. Sheahan, 253 F.3d 316, 319 (7th Cir.

2001). HRDC relies on Heard, where the plaintiff-prisoner sued prison officials for

inflicting cruel and unusual punishment by denying him medical care. Id. at 317. The

district court held that the plaintiff’s statute of limitations started to run as soon as

he discovered that he had a medical problem that required attention, and the court

dismissed the case because the plaintiff brought his action more than two years after

the medical problem arose. Id. The Seventh Circuit reversed, reasoning that it is

unreasonable to prevent a plaintiff from “reach[ing] back to his first [injury] by suing

within the limitations period for the last” when the plaintiff alleges a “continuous

series of events [that] gives rise to a continuing injury.” Id. at 320. The court

distinguished those kinds of claims from ones where “repeated events give rise to

discrete injuries” and a plaintiff’s statute of limitations begins to toll as soon as he

has a discrete injury. Id.

   Unlike the plaintiff in Heard, HRDC’s injuries are clearly discrete and caused by

repeated events. HRDC’s argument that—as in Heard—it would be unreasonably

burdensome to sue for every individual violation is belied by the fact that HRDC has

sued for several individual violations. There is no reason that HRDC could not have



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sued upon becoming aware of each challenged censorship decision. As a result, the

statute of limitations bars any of HRDC’s claims premised on events before February

13, 2016.

   Defendants are entitled to summary judgment as it relates to HRDC’s claims

regarding PLN Vol. 25, No. 26 (June 2014) and PLN Vol. 26, No. 11 (November 2015)

because HRDC admits to receiving notice of censorship for each issue. Further,

because HRDC’s only claims against Defendants Butler and Rose relate to censorship

decisions from 2014 and 2015, they are dismissed from the litigation.

  IV.       Merits

            a. First Amendment – 2022 AD Facial Challenges

  The Supreme Court has held that “there is no question that publishers . . . have a

legitimate First Amendment interest in access to prisoners.” Thornburgh v. Abbott,

490 U.S. 401, 408 (1989). Any restriction on publishers’ constitutional rights is only

“valid if it is reasonably related to legitimate penological interests.” Turner v. Safley,

482 U.S. 78, 89 (1987). To determine whether a restriction is “reasonably related to

legitimate penological interests,” the Court must consider: (1) whether the regulation

has a valid, rational connection to a legitimate governmental interest; (2) whether

alternative means exist to exercise the asserted right; (3) what impact an

accommodation of the right would have on guards and inmates and prison resources;

and (4) any ready alternatives to the regulation. Overton v. Bazzetta, 539 U.S. 126,

132 (2003). This is a “deferential standard” and courts must uphold the regulation “if

it is reasonably related to legitimate penological interests.” Mauro v. Arpaio, 188 F.3d



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1054, 1058 (9th Cir. 1999) (citing Turner, 482 U.S. at 89-91). The first factor is the

“ultimate question in any Turner analysis,” Nigl v. Litscher, 940 F.3d 329, 333-34

(7th Cir. 2019); thus, it “can act as a threshold factor regardless which way it cuts.”

Singer, 593 F.3d at 534. Where “there is only minimal evidence suggesting that a

prison's regulation is irrational, running through each factor at length is

unnecessary.” Mays v. Springborn, 575 F.3d 643, 648 (7th Cir. 2009)

                   i. 2022 AD

   HRDC argues that the Catch All Provision and the STG Provision are facially

unconstitutional.10 HRDC’s primary argument is that both provisions are overbroad

and unacceptably vague.11 “In the First Amendment context, … a law may be

invalidated as overbroad if ‘a substantial number of its applications are

unconstitutional, judged in relation to [its] plainly legitimate sweep.’” Prison Legal

News v. Ryan, 39 F.4th 1121, 1129 (9th Cir. 2022) (quoting United States v. Stevens,

559 U.S. 460, 472 (2010)) Likewise, vagueness “raises special First Amendment

concerns because of its obvious chilling effect on free speech,” and “can be thought of

as one form of overbreadth, describing rules that are overbroad because their effect

is to chill constitutionally protected activity.” Brown v. Kemp, 86 F.4th 745, 771 (7th

Cir. 2023).




10 As stated previously, HRDC does not have standing to seek challenge the Sexually Explicit Provision

contained in the 2022 AD, so HRDC’s facial attack on the provision necessarily fails. See Ezell v. City
of Chicago, 651 F.3d 684, 698 (7th Cir. 2011) (“In a facial challenge . . . [t]he remedy is necessarily
directed at the [policy] itself and must be injunctive or declaratory.”) (emphasis in original).
11 Courts generally view the question of overbreadth and vagueness in the context of the first Turner

element. See Couch v. Jabe, 737 F. Supp. 2d 561, 565 (W.D. Va. 2010).

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  The Seventh Circuit has held that “[s]ome open-ended quality is essential if a

prison is to have any guidelines; it is impossible to foresee all literature that may pose

a threat to safety and security.” Borzych v. Frank, 439 F.3d 388, 392 (7th Cir. 2006).

The “overbreadth analysis . . . has little or [no scope] in civil litigation dealing with

prisons’ internal operations.” Id.; see also Koutnik v. Brown, 456 F.3d 777, 782-83 (7th

Cir. 2006) (citing Ustrak v. Fairman, 781 F.2d 573, 580 (7th Cir.1986)) (the

overbreadth and vagueness doctrines “have only limited relevance to a sphere where

the right of free speech is limited,” as in prisons). And in each of these cases, the

Seventh Circuit was responding to challengers from prisoners about their own First

Amendment rights, not the rights of outside publishers or distributors to

communicate with prisoners.

  The parties disagree about what the 2022 AD provisions mean and whether they

should be read separately or together. The relevant portion of the 2022 AD reads:

  G. Standards for Publications
      1. Publications shall not be disapproved solely because its content is
      religious, philosophical, political, social, legal, or sexual, or because the
      content is unpopular or repugnant.
      2. Publications that meet one or more of the following criteria may be
      disapproved:
      a. It contains sexually explicit material.
      b. It is written in code.
      c. It facilitates unauthorized communication between individuals in
      custody.
      d. It blatantly encourages activities that may lead to the use of physical
      violence or group disruption.
      e. It facilitates unauthorized organizational activity within the
      Department.
      f. It overtly advocates or encourages violence, hatred, or group
      disruption.
      g. It encourages or instructs in the commission of criminal activity as
      defined by Illinois and federal criminal laws.

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      h. It is detrimental to the safety, security, or good order of the
      facility: This shall include, but is not limited to publications
      that:
             (1) Depict or describe procedures for the construction or use of
             weapons, ammunition, bombs, or incendiary devices;
             (2) Depict or describe procedures for making alcoholic beverages
             or manufacturing drugs;
             (3) Depict, describe, or encourage methods of escape from
             correctional facilities or provides material that may assist in an
             escape attempt such as a detailed map of areas surrounding
             Illinois correctional facilities; or
             (4) Contain content concerning security threat groups
             (STG) or depictions of hand signs or symbols that appear
             to be related to a STG and could promote or enhance the
             image of a STG within the facility or may be interpreted
             as legitimizing gang behavior.

  Pls. Ex. 95 at 4-5 (emphasis added). Section (G)(2)(h) is what the parties refer to

as the Catch All Provision, and Section (G)(2)(h)(4) is the STG provision.

  HRDC urges that the STG provision must be read separately and that it allows for

material to be censored if it (a) “contain[s] content concerning [STGs] or [(b)]

depictions of hand signs or symbols that appear to be related to a STG and [(c)] could

promote or enhance the image of a STG within the facility or [(d)] may be interpreted

as legitimizing gang behavior.” [325] at 12. Under this interpretation, news articles

that make only passing mention of gangs are prohibited. Conversely, Defendants

argue publications will only be prohibited if they are also “detrimental” to the facility

as contemplated under the Catch All Provision. Under Defendants’ interpretation,

material could thus only be censored under these provisions if they are (1)

“detrimental to safety, security, or good order,” and (2) could (a) “promote or enhance

the image of a STG within the facility” or (b) might “legitimiz[e] gang behavior.” The

problem with Defendants’ position is their own expert took a far wider view of the

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provision. In his report, he wrote that he would censor a news article, based on this

provision, only because it mentioned a gang leader by name. Def. Ex. 6 at 15. In other

words, he seemed to adopt HRDC’s reading of the provision rather than Defendants’.

   Because the parties have proffered equally plausible questions regarding the

meaning of these two provisions, and because accepting one or the other would mean

censoring a significantly disparate manner of publications, the Court finds that both

provisions are unconstitutionally vague. When “[p]ersons of common intelligence

would be required to guess at a phrase’s meaning and differ as to how [a] regulation

should be enforced,” that regulation is impermissibly vague. Int'l Soc. for Krishna

Consciousness v. Rochford, 585 F.2d 263, 268 (7th Cir. 1978). A publisher cannot be

expected to read the challenged provisions and understand what content they

prohibit. Because the provisions are impermissibly vague on their face, the Court

declines to address the remaining Turner factors.

          b. First Amendment – As-Applied Challenges

   Having addressed HRDC’s First Amendment facial attack against the 2022 AD,

the Court turns next to the specific instances of censorship, first discussing

Defendants’ stated reason for censoring the articles and then HRDC’s arguments

regarding the impropriety of that censorship. 12

                   i. PLN Vol 25, No. 6 (June 2014), PLN Vol. 26 No. 11 (November
                      2015)




12 HRDC argues that several articles in addition to those discussed here have been censored. However,

to support those claims, HRDC relies only on inadmissible hearsay, which is not sufficient to create a
dispute of fact. Balle v. Kennedy, 73 F.4th 545, 551 (7th Cir. 2023).

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   As discussed above, any challenges related to these publications are barred by the

statute of limitations. HRDC’s as-applied challenges related to these publications

fails.

               ii. PLN Vol. 27, No. 6 (June 2016), PLN Vol. 27, No. 11 (November
                   2016), PLN Vol. 28, No. 1 (January 2017), PLN Vol. 28, No. 8
                   (August 2017), PLN Vol. 28, No. 10 (October 2017), PLN Vol. 29,
                   No. 1 (January 2018), PLN Vol. 29, No. 8 (August 2018); PLN Vol.
                   30, No. 11 (November 2019).

   The June 2016 and January 2018 issues of PLN were censored at Menard and

included articles about hunger strikes that occurred in IDOC facilities that

successfully achieved changes in prison policies. Defendants’ experts described how

hunger strikes strain the resources of IDOC facilities and can cause dangerous

disruptions. Another court in this circuit has found that the exact article in the June

2016 issue was properly withheld at Menard, reasoning that prisons have a

legitimate government interest in maintaining the safety and security of IDOC

facilities. Kruger v. Lashbrook, No. 18-CV-512-SMY, 2022 WL 5169472, at *4 (S.D.

Ill. Oct. 5, 2022). The January 2018 issue also contained an article about a suicide

committed by an inmate at an IDOC facility. Defendants argue that IDOC facilities

have a legitimate penological interest in preventing information that could encourage

more inmates to commit suicide.

   The January 2017 issue of PLN was censored at Vienna, and the reviewer

indicated it was censored because of an article depicting a prison riot. Three articles

in the issue reference prison riots. Defendants argue that they have a legitimate

interest in discouraging the spread of information about riots.



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   Three issues of PLN — the August 2017, October 2017, and August 2018 issues —

were censored because they contain articles describing various lawsuits against

IDOC officials. Two of the issues contain details of IDOC guards beating inmates (one

of the inmates was killed in the attack) and the other issue describes how IDOC

guards stole an inmate’s legal papers during a cell shakedown to deprive him of the

opportunity to prepare for a post-conviction hearing. 13 Each of the articles name the

IDOC guards and officials responsible, and at least some those guards or officials

were still employed by the facilities where they were reported to have stolen from,

beat, or killed inmates. Defendants argue that they were justified in withholding

these issues because they could inflame tensions in IDOC facilities and create an

unsafe environment, particularly at the facilities where the named correctional staff

still worked.

   The November 2019 issue of PLN was censored because it contained an issue

covering a suicide committed by an inmate and named three IDOC staff members

who engaged in misconduct. As with the previously discussed issues, Defendants

argue that they were justified in withholding this issue because they have a

legitimate interest in discouraging inmates from committing suicide and in protecting

the safety of IDOC staff members.


13 The Court is sensitive to the complexities of running a prison facility and is not qualified to mete

out advice. But it strikes the Court as bordering on the absurd to think that censoring this type of
information is effective. Inmates are aware of correctional staff who are accused of engaging in
misconduct. They have to be. This case is about the HRDC’s First Amendment right to report on these
incidents. The Court finds that the law protects the defendants’ censorship. But the obvious policy
matter raised, not presented here, is the decision to continue employing correctional staff accused of
such egregious misconduct in positions where they have contact with inmates. That seems, from an
outside observer’s view, far more likely to lead to be “detrimental to the safety, security of good order
of the facility.” Pls. Ex. 92.

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  HRDC makes several arguments regarding these issues, none of which rise to the

level of a First Amendment violation under existing law. First, HRDC argues that

various IDOC facilities violated the First Amendment by inconsistently censoring

publications at different facilities. But “[s]ome open-ended quality is essential if a

prison is to have any guidelines; it is impossible to foresee all literature that may pose

a threat to safety and security.” Borzych, 439 F.3d at 392. The fact that IDOC officials

at different facilities reviewed certain publications and come to different

determinations about their permissibility does not, on its own, establish that HRDC’s

rights were violated.

  Second, HRDC argues that IDOC’s publication review policy is “undermined by its

inconsistent television policy,” which allows prisoners to watch television in housing

units without any content-based restrictions. [299] at 15. But the Seventh Circuit has

repeatedly rejected this argument, and HRDC does nothing to distinguish its

argument here from this binding precedent. See Mays v. Springborn, 575 F.3d 643,

649 (7th Cir. 2009); Bailey v. Stover, 766 F. App'x 399, 401-02 (7th Cir. 2019).

  Third, HRDC argues that when IDOC officials remove a page from a publication

because only one side of it has objectionable content, the removal of the non-

objectionable other side of the page constitutes a constitutional violation. But the

Supreme Court has held that when prison officials determine one page in a

publication is objectionable, the officials are justified in censoring the entire

publication. Throneburgh, 490 U.S. at 418-19. HRDC counters that this practice

nonetheless violates IDOC’s own policies. That may be true, but as HRDC



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acknowledges, “failure to follow an internal regulation is not a constitutional violation

per se.” [325] at 23. The question before the Court is whether Defendants violated the

First or Fourteenth Amendments, not whether Defendants violated their own

policies.

  Finally, HRDC contends that because the challenged articles present “factual

events in an objective manner and do not incite or encourage any misconduct,” their

“censorship under the guise of safety and security [is] not rationally related to a

legitimate interest and fail the Turner standard.” While the Court is sympathetic to

this argument, it is not based in law. The question is not the censored publications

actually threatened the safety and security of the prison, but rather whether it was

“reasonable for defendants to perceive the newsletter as a potential threat to [safety]

and security.” Van den Bosch v. Raemisch, 658 F.3d 778, 788 (7th Cir. 2011).

“Plaintiff’s disagreement with [Defendants’] assessment is insufficient to establish

that confiscation of the [publications] was not reasonably related to legitimate

penological interests.” Id.; see also Thornburgh, 490 U.S. at 417 (“We agree that it is

rational … to exclude materials that, although not necessarily ‘likely’ to lead to

violence, are determined by the warden to create an intolerable risk of disorder under

the conditions of a particular prison at a particular time.”). Indeed, the Seventh

Circuit has repeatedly signaled that prison officials have the latitude to restrict

publications far more anodyne than those at issue here. See Singer v. Raemisch, 593

F.3d 529 (7th Cir. 2010) (confiscation of publications concerning the roleplaying game

“Dungeons & Dragons” because the prison determined that the game promoted



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violence and “escapist behavior” was related to the prison’s interests in maintaining

institutional security); Johnson v. Frank, 509 F.3d 389, 391–92 (7th Cir. 2007)

(upholding an outright ban on all individual commercially published photographs in

Wisconsin prisons because of the prisons’ legitimate interest in cutting down on the

administrative costs required to review them); Van den Bosch, 658 F.3d at 788

(holding that prison officials were justified in censoring passages in a newsletter that

was critical of a parole committee because the newsletter would encourage distrust

of prison staff and threaten security).

                 iii. PLN Vol. 28, No. 2 (February 2017), PLN Vol. 28, No. 3 (March
                      2017), PLN Vol. 28, No. 4 (April 2017), PLN Vol. 29, No. 2
                      (February 2018), PLN Vol. 29, No. 3 (March 2018), PLN Vol. 29,
                      No. 5 (May 2018), PLN Vol. 29, No. 6 (June 2018), PLN Vol. 29,
                      No. 7 (July 2018), PLN Vol. 29, No. 8 (August 2018)

   HRDC argues that several of its publications were improperly withheld at Big

Muddy14 without justification. Defendants argue that the articles were censored

pursuant the AD’s Mental Health Provision, which allows facilities to conduct

individualized reviews of publications sent to inmates who have been committed as

SDPs. Defendants note that although these issues were sent to multiple inmates at

Big Muddy, there is only evidence that Big Muddy censored the issues that were sent

to an SDP. However, Defendants also admit that “[i]n each of these cases, Big Muddy

personnel did not complete the appropriate DOC 211 or DOC 212 forms, so we do not

have a written explanation for the censorship.” [306] at 37. Defendants urge that it

is nonetheless “a reasonable conclusion” that these issues were withheld pursuant to


14 As indicated above, PLN Vol. 29, No. 8 was censored at both Big Muddy and Western Illinois for

different reasons.

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the Mental Health Provision. Id. The Court is inclined to agree, but that is not the

standard that Defendants need to meet to prevail on summary judgment, where the

Court must view “all evidence in the light most favorable” to HRDC. City of Chi. v.

Equte LLC, 2023 WL 6173593 at *3 (N.D. Ill. Sept. 19, 2023). The Court thus declines

to grant either party summary judgment on claims related to these issues because

there is a genuine dispute of fact as to why they were censored.

               iv. PLN Vol. 27, No. 3 (March 2016), PLN Vol. 27, No. 7 (July 2016),
                   CLN Vol. 1 No. 10 (September 2018)

  Defendants admit that each of these issues was censored by mistake and that the

censorship was not rationally related to any penological interest. As a result, HRDC

is entitled to summary judgment as it relates its First Amendment as-applied

challenge to each of these issues.

         c. Fourteenth Amendment Facial Challenges

  Plaintiffs argue that the notice and appeal provisions in the 2006 AD, 2019 AD,

and 2022 ADs are facially unconstitutional. As a general matter, the Fourteenth

Amendment requires: (1) “the author of [the publication] be given a reasonable

opportunity to protest [the censorship] decision” and (2) “complaints be referred to a

prison official other than the person who originally disapproved the [publication].”

Procunier v. Martinez, 416 U.S. 396, 418-19 (1974), overruled on other grounds by

Thornburgh, 490 U.S. 401; see also Prison Legal News v. Cnty. of Cook, 2016 WL

6833977, at *10 (N.D. Ill. Nov. 21, 2016) (“[N]umerous circuits have held that

publishers have due process rights when a prison rejects their publications.”)

(collecting cases); Jacklovich v. Simmons, 392 F.3d 420, 433 (10th Cir. 2004).

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                i.   2006 AD

  HRDC argues that the 2006 AD’s notice provisions and appeal provisions were

both facially unconstitutional. The Court agrees.

  As to its notice provision – the 2006 AD only required a PRO to send notice to a

publisher if the publisher determined that the publication was “questionable” and

that the publication was being reviewed. The 2006 AD did not require a PRO or any

other entity to provide notice to a publisher when a final censorship decision was

made. “Due process requires that the decision to censor inmate mail must be

accompanied by ‘minimum procedural safeguards.’” Miller v. Downey, 915 F.3d 460,

466 (7th Cir. 2019) (quoting Procunier, 416 U.S. at 417). Courts have not provided an

overly robust definition of what it means to provide minimum procedural safeguards,

but Defendants argue that the 2006 AD satisfies the Fourteenth Amendment’s

requirements by “giving the author of the publication a reasonable opportunity to

protest the decision.” [306] at 27. The Court does not see how that can be true given

that the 2006 AD does not require alerting a publisher that a censorship decision has

even been made.

  The notice provision also fails to meet its constitutional requirements because it

did not require that a publisher be told why its publication was censored. See Prison

Legal News v. Cnty. of San Diego, 2015 U.S. Dist. LEXIS 83417, at *31 (S.D. Cal. May

7, 2015) (finding notice stating “RETURN TO SENDER” or “UNACCEPTABLE

MAIL” was insufficient because “[t]his renders it impossible for PLN to challenge the

basis of the refusals”); Johnson v. Raemisch, 557 F. Supp. 2d 964, 972 (W.D. Wis.



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2008) (finding that the prison’s notice that a newsletter “poses a threat to the security,

orderly operation, discipline/safety of the institution” was insufficient because

defendants failed to “identif[y] any security justification for the censorship”). The

notice requirements in the 2006 AD are thus facially unconstitutional.

  The 2006 AD’s appeal provision is similarly unconstitutional because it did not

require that an appeal be handled by a an official other than the original censor. See

Smith v. Donohue, 977 F.2d 585 (7th Cir. 1992) (“[T]he Supreme Court stated that

the decision to censor inmate mail must be accompanied by minimum procedural

safeguards, including notice of censorship to the sender and recipient of the mail, and

an opportunity to protest to an official other than the censor.”)

                ii. 2019 AD

  HRDC contends that the 2019’s notice requirements were likewise facially

unconstitutional because IDOC facilities were only required to give publishers notice

of censorship if the intended recipient waived additional review by the CPRC.

Defendants argue that if a prisoner waives review of a publication, they are effectively

communicating that they do not wish to receive the publication and that it becomes

unsolicited mail. Defendants note that the Supreme Court has not affirmed any right

to send unsolicited mail and that two courts have rejected Fourteenth Amendment

claims premised on a prison’s failing to provide notice when censored mail is

unsolicited. See Hughbanks v. Dooley, 788 F. Supp. 2d 988, 999 (D.S.D. 2011); Alcala

v. Calderon, No. C 95-3329 TEH, 1997 WL 446234, at *10 (N.D. Cal. July 24, 1997).

But Defendants cite no authority for the proposition that an inmate choosing to not



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have a publication reviewed converts it into unsolicited mail. HRDC is seeking to

protect its Fourteenth Amendment rights, not the intended recipients’, and it is not

clear to the Court why an inmate’s decision not to pursue review would extinguish a

publisher’s right to due process. The 2019 AD is thus facially unconstitutional.

   HRDC also argues that the 2019 AD was facially unconstitutional because, like

the 2006 AD, the same person who made the original censorship decision was also

responsible for reviewing any appeal. Under the 2019 AD, it is undisputed the final

censorship decision was made by the Chair of the CPRC. [308] ¶ 104. If that decision

was appealed, it is undisputed that the appeal was heard by “the CPRC.” [308] ¶ 105.

The parties have not explained who sits on the CPRC or what the Chair’s role on the

CPRC is with sufficient clarity to allow the Court to determine whether this process

violates a publisher’s rights to due process. The Court thus declines to find that the

appeal provision of the 2019 AD is facially unconstitutional.

               iii. 2022 AD

  HRDC argues that the 2022 AD is still facially unconstitutional because it provides

notice only for censored publications received directly from a publisher, rather than

publications received from a distributor. HRDC’s argument requires finding that a

distributor has the same due process protections as a publisher. In support of its

argument, HRDC principally relies on Martin v. Kelley, where the Sixth Circuit held

that the sender of a letter to a prisoner was entitled to notice and the opportunity to

appeal a censorship decision. 803 F.2d 236, 243-44 (6th Cir. 1986). This does not

persuade. It strikes the Court that an author’s interests in communicating with a



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prisoner are closer to — and perhaps even stronger than — those of a publisher rather

than those of a distributor. Because HRDC cites no authority suggesting that

Procunier’s due process protections extend to distributors, the Court declines to find

that the 2022 AD is facially unconstitutional on this basis.

         d. Fourteenth Amendment As-Applied Challenges

  The Court next turns to the specific instances where HRDC alleges that they did

not receive notice of a censorship decision. Defendants argue that the undisputed

facts show that notice was not provided in only three instances. Plaintiffs argue that

Defendants failed to provide notice in 22 instances. Based on the Court’s review of

the parties’ statements of fact, the parties agree that there is no evidence in the record

indicating that notice was provided for the following 16 instances of censorship:

  No.     Issue                       Date              Facility         Record Cite
  1       PLN Vol. 27, No. 7          July 2016         Western          [308] ¶ 89
                                                        Illinois
  2       PLN Vol. 28, No. 2          February          Big Muddy        [308] ¶ 136
                                      2017
  3       PLN Vol. 28, No. 3          March 2017        Big Muddy        [308] ¶ 137
  4       PLN Vol. 28, No. 4          April 2017        Big Muddy        [308] ¶ 138
  5-8     PLN Vol. 28, No. 8          August 2017       Pontiac,         [308] ¶ 140
                                                        Menard,
                                                        Robinson, and
                                                        Stateville
  9-10    PLN Vol. 28, No. 10         October 2017      Southwestern     [308] ¶ 142
                                                        and Robinson
  11      PLN Vol. 29, No. 1          January 2018      Menard           [308] ¶ 143
  12      PLN Vol. 29, No. 2          February          Big Muddy        [308] ¶ 148
                                      2018
  13      PLN Vol. 29, No. 3          March 2018        Big Muddy        [308] ¶ 149
  14      PLN Vol. 29, No. 5          May 2018          Big Muddy        [308] ¶ 150
  15      PLN Vol. 29, No. 6          June 2018         Big Muddy        [308] ¶ 151
  16      PLN Vol. 29, No. 7          July 2018         Big Muddy        [308] ¶ 152



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  In each of the above instances, Defendants admit that they censored at least part

of an article and either (1) they did not provide notice of the censorship; or (2) there

is no admissible evidence in the record upon which they could prove they provided

notice of the censorship. HRDC is entitled to summary judgment as it relates to their

Fourteenth Amendment as-applied claims for the above 16 instances of censorship.

         e. Damages

  In addition to injunctive and declaratory relief, HRDC seeks damages against all

Defendants in their individual capacity. “A damages suit under § 1983 requires that

a defendant be personally involved in the alleged constitutional deprivation.” Matz v.

Klotka, 769 F. 3d 517, 528 (7th Cir. 2014). To establish individual liability, the

individual must have “caused or participated in an alleged constitutional

deprivation.” Rascon v. Hardiman, 803 F.2d 269, 273 (7th Cir. 1986) (quoting Wolf–

Lillie v. Sonquist, 699 F.2d 864, 869 (7th Cir.1983)). Neither negligence nor gross

negligence is enough. Beaman v. Souk, 7 F. Supp. 3d 805, 826 (C.D. Ill. 2014), aff'd

sub nom. Beaman v. Freesmeyer, 776 F.3d 500 (7th Cir. 2015) (citing Slade v. Bd. of

Sch. Dirs., 702 F.3d 1027, 1032 (7th Cir.2012); see also Waubanascum v. Shawano

County, 416 F.3d 658, 670 (7th Cir. 2005); Jones v. City of Chicago, 856 F.2d 985, 992

(7th Cir. 1988) (“[S]upervisors who are merely negligent in failing to detect and

prevent subordinates' misconduct are not liable, because negligence is no longer

culpable . . . [t]he supervisors must know about the conduct and facilitate it, approve

it, condone it, or turn a blind eye for fear of what they might see.” (quotations

omitted); Hill v. Superior Ct. of Lake Cnty., No. 2:07-CV-356, 2007 WL 3256667, at



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*3 (N.D. Ind. Nov. 2, 2007) (“Neither the Constitution nor § 1983 imposes liability for

monetary damages for mistakes or negligence.”).

  Relatedly, Defendants argue that they are all protected from any claims for

monetary relief by qualified immunity. Qualified immunity applies whether a

government official’s error is “a mistake of law, a mistake of fact, or a mistake based

on mixed questions of law and fact.” Pearson v. Callahan, 555 U.S. 223, 231 (2009).

“The doctrine of qualified immunity protects government officials ‘from liability for

civil damages insofar as their conduct does not violate clearly established statutory

or constitutional rights of which a reasonable person would have known.’” Pearson v.

Callahan, 555 U.S. 223 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818

(1982)). “Qualified immunity balances two important interests—the need to hold

public officials accountable when they exercise power irresponsibly and the need to

shield officials from harassment, distraction, and liability when they perform their

duties reasonably.” Id. “The protection of qualified immunity applies regardless of

whether the government official's error is a mistake of law, a mistake of fact, or a

mistake based on mixed questions of law and fact.” Id. (internal quotation marks

omitted); see Hunter v. Bryant, 502 U.S. 224, 229, 112 S.Ct. 534, 116 L.Ed.2d 589

(1991) (“The qualified immunity standard gives ample room for mistaken judgments

by protecting all but the plainly incompetent or those who knowingly violate the law.”

(internal quotation marks omitted)).

  The qualified immunity analysis contains a two-pronged inquiry. “First, a court

must decide whether the facts that a plaintiff has alleged or shown make out a



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violation of a constitutional right.” Pearson, 555 U.S. at 232 (internal citations

omitted). “Second, ... the court must decide whether the right at issue was ‘clearly

established’ at the time of the defendant's alleged misconduct.” Id. “Qualified

immunity is applicable unless” the plaintiff can satisfy both prongs of the inquiry. Id.

“The qualified immunity inquiry is a pure question of law.” Martin v. Lane, No. 85 C

0734, 1987 WL 17135, at *2 (N.D. Ill. Sept. 16, 1987).

  With that legal framework in mind, the Court first addresses HRDC’s claims for

monetary relief. The undisputed evidence shows that just three articles were

wrongfully censored over a period of several years. As the Court will explain in

greater detail below, the evidence does not support a finding that any of the

Defendants acted with a mental state beyond that of gross negligence in mistakenly

censoring a small number of articles or in failing to provide notice of their censorship.

Thus, even without considering qualified immunity, none of the individual

Defendants are liable for compensatory damages under § 1983.

  However, individuals who were responsible for violating HRDC’s rights are

nonetheless liable for nominal damages. See Hodges v. Rios, No. 99 C 4137, 2000 WL

1700172, at *7 (N.D. Ill. Nov. 9, 2000) (“In an action brought pursuant to Section

1983, even when a litigant fails to prove actual compensable injury, he is entitled to

an award of nominal damages upon proof of violation of a substantive constitutional

right.”) (quotations omitted). Further, qualified immunity does not preclude an award

of nominal damages because the rights violated—HRDC’s First Amendment right to

communicate with inmates and Fourteenth Amendment right to receive notice and



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appeal censorship decisions—were governed by clearly established law. See, e.g.,

Smith v. Donohue, 977 F.2d 585 (7th Cir. 1992); Hum. Rts. Def. Ctr. v. Baxter Cnty.

Ark., 999 F.3d 1160, 1167 (8th Cir. 2021); Montcalm Pub. Corp. v. Beck, 80 F.3d 105,

106, 109 (4th Cir. 1996); Jacklovich v. Simmons, 392 F.3d at 433; Prison Legal News

v. Stolle, 319 F.Supp.3d 830, 850 (E.D. Va. 2015); Hum. Rts. Def. Ctr. v. Ishee, 2024

WL 1309186 at *8 (E.D.N.C. Mar. 27, 2024); Prison Legal News v. Cook, 238 F.3d

1145, 1153 (9th Cir. 2001); Martin v. Kelly, 803 F.2d 236, 243-44 (6th Cir. 1986);

Bonner v. Outlaw, 552 F.3d 673, 677 (8th Cir. 2009); Lane v. Lombardi, 2012 WL

5873577 at *2-5 (W.D. Mo. Nov. 15, 2012).

      Having established the rules by which each Defendant can be found liable, the

Court addresses each Defendant individually:

        Defendant Dennison served as a warden intermittently at Shawnee and

         Pinckneyville from 2016 through 2020. There is no evidence in the record

         upon which a jury could find any instances of improper censorship or due

         process violations at either facility during that time. Defendant Dennison is

         thus entitled to summary judgment and is dismissed from the litigation.

        Defendant Dorethy served as warden of Hill from 2014 through 2020. There

         is no evidence in the record upon which a jury could find any instances of

         improper censorship or due process violations at that facility during that

         time. Defendant Hill is thus entitled to summary judgment and is dismissed

         from the litigation.




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       Defendant Gomez served as warden at Sheridan from 2016 through 2020

        and at Stateville in early 2020. There is no evidence in the record upon

        which a jury could find any instances of improper censorship or due process

        violations at either facility during that time. Defendant Gomez is thus

        entitled to summary judgment and is dismissed from the litigation.

       Defendant Jaimet served as warden at Pinckneyville from January 2017

        through June 2018. There is no evidence in the record upon which a jury

        could find any instances of improper censorship or due process violations at

        that facility during that time. Defendant Jaimet is thus entitled to summary

        judgment and is dismissed from the litigation.

       Defendant Swalls served as the warden at Vienna from April 2017 –

        January 2020 during which time the January 2017 issue of PLN was

        censored. For the reasons discussed above, censorship of this issue was

        justified under the Turner standard. Swalls is thus entitled to summary

        judgment as to HRDC’s First Amendment claim. There is no evidence in the

        record upon which a jury could find any instances of due process violations

        at Vienna during Swalls’s tenure. Defendant Swalls is thus entitled to

        summary judgment and is dismissed from the litigation.

       Defendant Butler served as warden of Menard from 2014 through 2016. As

        discussed above, any claims against Butler stem from censorship that

        occurred beyond the statute of limitations period. Butler is thus entitled to

        summary judgment and is dismissed from the litigation.



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       Defendant Hansbro served as warden at Decatur from 2010 through 2018

        during which time PLN Vol. 27, No. 3 was censored. Defendants concede

        that censorship of this article was not justified but argue it was a reasonable

        mistake. The Court agrees; the evidence reflects only one single instance

        where Watson was responsible for an incorrect censorship decision. The

        evidence does not support a finding that Hansbro acted with a mental state

        beyond gross negligence. As a result, although HRDC is entitled to

        declaratory and injunctive relief related to the censorship of PLN Vol. 27,

        No. 3, HRDC is not entitled to monetary relief beyond nominal damages.

        There is also no evidence in the record of any due process violations at

        Decatur during this time. As a result, Hansbro is entitled to summary

        judgment on HRDC’s Fourteenth Amendment claims.

       Defendant Carter served as a PRO at Decatur from 2014 through 2018.

        During that time, Defendants concede that Carter wrongly censored PLN

        Vol. 27, No. 3. However, the unrebutted evidence shows that Carter realized

        she wrongly censored the issue a month later and quickly worked to fix her

        error. As a result, HRDC is entitled only to declaratory relief related to this

        censorship and not monetary relief beyond nominal damages. Further, there

        is no evidence that Carter was involved in any due process violations during

        her time at Decatur. Carter is thus entitled to summary judgment as to

        HRDC’s Fourteenth Amendment claim against her.




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         Defendant Lashbrook served as warden at Menard from January 2017

          through February 2019 during which time PLN Vol. 28, No. 8 and Vol. 29,

          No. 1 were censored.15 For the reasons discussed above, censorship of both

          issues was justified under the Turner standard. Lashbrook is thus entitled

          to summary judgment as to HRDC’s First Amendment claim. However, the

          undisputed facts show that HRDC did not receive notice of either instance

          of censorship. But the unrebutted evidence shows that Lashbrook “had no

          role in providing notice to publishers.” [308] ¶ 35. Lashbrook thus cannot be

          liable for monetary relief. HRDC is entitled only to declaratory relief as to

          HRDC’s Fourteenth Amendment claim against Lashbrook.

         Defendant Bradley served as a PRO at Menard from November 2015 – April

          2017. Bradley was responsible for initial censorship decisions regarding

          PLN Vol. 27, No. 6 and PLN Vol. 27, No. 11. For the reasons discussed above,

          censorship of both of these issues was justified under the Turner standard.

          As a result, Bradley is entitled to summary judgment in HRDC’s First

          Amendment claim against him.16

         Defendant Rose served as a PRO at Menard from 2012 through 2016. Rose

          was involved in the initial censorship decisions for PLN Vol. 25, No. 26 and

          PLN. Vol. 26, No. 11. As discussed above, both instances of censorship




15 Defendants appear to dispute whether Lashbrook had any personal involvement with censorship of

PLN Vol. 28, No. 8. See [306] Even if she did, she would nonetheless be entitled to summary judgment
because censorship was justified under Turner.
16 HRDC does not appear to seek summary judgment against Bradley for any Fourteenth Amendment

violations. See [299] at 27.

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           occurred outside of the statute of limitations period. Rose is thus entitled to

           summary judgment as to Plaintiff’s First Amendment claim against him. 17

          Defendant Scott served as a PRO at Menard from 2015 – 2018. Scott was

           involved in the initial censorship decision for PLN Vol. 29, No. 1. As

           discussed above, censorship of this issue was justified under the Turner

           standard. As a result, Scott is entitled to summary judgment in HRDC’s

           First Amendment claim against her. HRDC did not receive notice of PLN

           Vol. 29, No. 1’s censorship. However, the evidence does not establish that

           Scott acted (or failed to act) with a mental state beyond gross negligence.

           Thus, HRDC is entitled only to declaratory relief and nominal damages in

           their Fourteenth Amendment claim against Scott.

          Defendant Shemonic served as a PRO at Menard from 2009 through 2012

           and temporarily filled in for Defendant Bradley at Menard in 2016. During

           that time, she was involved in the censorship decision for PLN Vol. 27, No.

           6. For the reasons discussed above, this this censorship was justified under

           the Turner standard. Further, there is no evidence that Shemonic was

           involved in any due process violations during her time at Menard. Shemonic

           is thus entitled to summary judgment as to HRDC’s Fourteenth

           Amendment.

          Defendant Melvin served as warden at Pontiac from 2015 through 2018

           during which time PLN Vol. 28, No. 8 was censored. However, for the


17 HRDC does not appear to seek summary judgment against Rose for any Fourteenth Amendment

violation violations. See [299] at 27.

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        reasons discussed above, this censorship was justified under the Turner

        standard. Melvin is thus entitled to summary judgment as to HRDC’s First

        Amendment claim. Although the undisputed facts also show that HRDC did

        not receive notice of this censorship, HRDC provided no evidence of Melvin’s

        personal involvement with or even knowledge about the notice process at

        Pontiac. Melvin is thus entitled to summary judgment as to HRDC’s

        Fourteenth Amendment claim.

       Defendant Pfister served as warden at Stateville from 2015 through 2018

        during which time PLN Vo. 28, No. 8 was censored. However, for the reasons

        discussed above, this censorship was justified under the Turner standard.

        Pfister is thus entitled to summary judgment as to HRDC’s First

        Amendment claim. Although the undisputed facts also show that HRDC did

        not receive notice of this censorship, HRDC provided no evidence of Pfister’s

        personal involvement with or even knowledge about the notice process.

        Pfister is thus entitled to summary judgment as to HRDC’s Fourteenth

        Amendment claim.

       Defendant Rains served as warden at Robinson from 2016 through 2018

        during which time PLN Vo. 28, No. 8 was censored. However, for the reasons

        discussed above, this censorship was justified under the Turner standard.

        Rains is thus entitled to summary judgment as to HRDC’s First Amendment

        claim. Although the undisputed facts also show that HRDC did not receive

        notice of this censorship, HRDC provided no evidence of Rains’s personal



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           involvement with or even knowledge of the notice process. Rains is thus

           entitled to summary judgment as to HRDC’s Fourteenth Amendment claim.

          Defendant Watson18 served as warden at Western Illinois from 2017

           through 2020, during which time PLN Vol. 29, No. 8 and CLN Vol. 1, No 10

           were censored. For the reasons discussed above, censorship of PLN Vol. 29,

           No. 8 at Western Illinois was justified under the Turner standard.

           Defendants concede that censorship of CLN Vol. 1, No 10 was not justified

           but argue it was a reasonable mistake. The Court agrees; the evidence

           reflects only one single instance where Watson was responsible for an

           incorrect censorship decision. As a result, although HRDC is entitled to

           summary judgment as to declaratory and injunctive relief related to the

           censorship of CLN Vol. 1, No 10, HRDC is not entitled to monetary relief

           beyond nominal damages against Watson.

          Defendant Anderson served as warden at Western Illinois from 2010 – 2017.

           The undisputed facts show that of the relevant issues, Anderson was only

           personally involved in the review of PLN Vol. 27, No. 7. Defendants concede

           that censorship of PLN Vol. 27, No. 7 was not justified but argue it was a

           reasonable mistake. The Court agrees; the evidence reflects only one single

           instance where Anderson was responsible for an incorrect censorship

           decision. The evidence does not support a finding that Anderson acted with



18 HRDC does not appear to not seek summary judgment against Watson for due process violations

despite putting forth in their statement of facts that Western Illinois never sent notice after censoring
CLN Vol. 1, No. 10. See [299] at 26.

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        a mental state beyond gross negligence. As a result, although HRDC is

        entitled to summary judgment as to declaratory and injunctive relief related

        to the censorship of PLN Vol. 27, No. 7, HRDC is not entitled to monetary

        relief beyond nominal damages. Further, it is undisputed that HRDC did

        not receive notice of this censorship decision. However, the evidence does

        not establish that Anderson acted (or failed to act) with a mental state

        beyond gross negligence. Thus, HRDC is entitled only to declarative relief

        and nominal damages in their Fourteenth Amendment claim against

        Anderson.

       Defendant Sullivan served as warden at Big Muddy from 2017 through

        2020. During that time, several issues were censored. As discussed above,

        there is a dispute of fact regarding the reason for that censorship that

        precludes awarding either party summary judgment on HRDC’s First

        Amendment claim. Although HRDC received no notice of censorship for

        several of those issues, HRDC presented no evidence of Sullivan’s personal

        involvement with or knowledge about the notice process. Sullivan is thus

        entitled to summary judgment as to HRDC’s Fourteenth Amendment claim.

       Defendant Jeffreys was director or acting director of IDOC from June 2019

        through April 2023. Jeffreys testified that he has ultimate responsibilities

        for ensuring compliance with policies and ensuring that policies complied

        with the law. During Jeffreys’s tenure, the admissible evidence—both

        disputed and undisputed—demonstrates that only one article of PLN, PLN



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        Vol. 30, No. 11, was censored. For the reasons discussed above, this

        censorship was justified under the Turner standard. Jeffreys is thus entitled

        to summary judgment as to HRDC’s First Amendment claim. As to the

        Fourteenth Amendment claim, there is a dispute of fact as to whether HRDC

        received notice regarding the censorship of the single issue. Summary

        judgment is thus not appropriate on this claim for either party.

       Defendant Baldwin was director of IDOC from August 2015 through May

        2019. HRDC seeks hold Baldwin liable under a theory that he acted or failed

        to act with a deliberate or reckless disregard for HRDC’s constitutional

        rights. Baldwin testified that he had ultimate responsibility to correct

        department practices that did not comply with IDOC policies and that he

        was responsible for ensuring that IDOC policies complied with the law.

        HRDD takes issue with the fact that during Baldwin’s tenure, six different

        IDOC facilities were found noncompliant in audits of their publication

        review process, but Baldwin testified that he could not recall ever being

        made aware of any such audits. When Baldwin was asked if would have

        taken steps, as IDOC director, to rectify problems with publication review

        audits had he been aware of them, Baldwin testified he did not know the

        answer to the question. Yet HRDC presents no evidence that whatever

        findings were contained in those audits have any relation to the deprivation

        of HRDC’s rights in this case. And even if they had, such evidence would not

        establish that Baldwin acted or failed to act with a mental state beyond



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         gross negligence. For Baldwin to be liable for monetary damages, HRDC

         would have to establish that “[knew] about the conduct and facilitate[d] it,

         approve[d] it, condone[d] it, or turn[ed] a blind eye for fear of what [he] might

         have seen.” Jones, 856 F.2d at 992. There is no evidence in the record upon

         which the Court could find Baldwin acted with the requisite mental state to

         be held liable for any monetary damages. However, for the reasons stated

         throughout this opinion, HRDC is entitled to declarative and injunctive

         relief for the instances of improper censorship and unsent notice that

         occurred during his tenure, and nominal damages for the same.

                                   CONCLUSION

   For the stated reasons, HRDC’s motion for summary judgment [290] and

Defendants’ motion for summary judgment [305] are granted in part and denied in

part. HRDC is entitled to declaratory relief as to their facial attacks on the STG

Provision and Catch All Provision of the 2022 AD. HRDC is further entitled to

declaratory relief as to their facial attack on the notice and appeal provisions of the

2006 and 2019 AD. HRDC is entitled to declaratory and injunctive relief as to the

censorship of PLN Vol. 27, No. 3 (March 2016), PLN Vol. 27, No. 7 (July 2016), and

CLN Vol. 1 No. 10 (September 2018) and the absence of notice and appeal

opportunities as to PLN Vol. 27, No. 7 PLN Vol. 28, No. 2, PLN Vol. 28, No. 3, PLN

Vol. 28, No. 4, PLN Vol. 28, No. 8, PLN Vol. 28, No. 10, PLN Vol. 29, No. 1, PLN Vol.

29, No. 2, PLN Vol. 29, No. 3, PLN Vol. 29, No. 5, PLN Vol. 29, No. 6, PLN Vol. 29,

No. 7. Finally, HRDC is entitled to nominal damages against Defendants Hansbro



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(First Amendment claim), Carter (First Amendment claim), Scott (Fourteenth

Amendment claim), Watson (Fourteenth Amendment claim), Anderson (First and

Fourteenth Amendment claims), and Baldwin (First and Fourteenth Amendment

claims).

   The following Defendants are entitled to summary judgment: Dennison (First and

Fourteenth Amendment claims), Dorethy (First and Fourteenth Amendment claims),

Gomez (First and Fourteenth Amendment claims), Jaimet (First and Fourteenth

Amendment claims), Swalls (First and Fourteenth Amendment claims), Butler (First

and Fourteenth Amendment claims), Rose (First and Fourteenth Amendment

claims), Hansbro (Fourteenth Amendment claim), Carter (Fourteenth Amendment

claim), Lashbrook (First Amendment and Fourteenth Amendment claim), Bradley

(First Amendment claim), Rose (First and Fourteenth Amendment claim), Scott

(First Amendment claim), Shemonic (First and Fourteenth Amendment claim),

Melvin (First and Fourteenth Amendment claim), Pfister (First and Fourteenth

Amendment claim), Rains (First and Fourteenth Amendment claim), Watson (First

Amendment claim), Sullivan (Fourteenth Amendment claim), Jeffreys (First

Amendment claim). The following Defendants are thus dismissed with prejudice from

the litigation: Dennison, Dorethy, Gomez, Jaimet, Swalls, Butler, Lashbrook,

Bradley, Rose, Shemonic, Melvin, Pfister, and Rains.

   Finally, the Court denies summary judgment to both parties on HRDC’s due

process facial challenge to the 2022 AD ,the First Amendment as applied as-applied

challenges related to PLN Vol. 28, No. 2 (February 2017), PLN Vol. 28, No. 3 (March



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2017), PLN Vol. 28, No. 4 (April 2017), PLN Vol. 29, No. 2 (February 2018), PLN Vol.

29, No. 3 (March 2018), PLN Vol. 29, No. 5 (May 2018), PLN Vol. 29, No. 6 (June

2018), PLN Vol. 29, No. 7 (July 2018), PLN Vol. 29, No. 8 (August 2018), and the

Fourteenth Amendment as-applied challenge to PLN Vol. 30, No. 11. The parties are

to confer and file a status report regarding the remaining claims by May 5, 2025.




                                            E N T E R:


Dated: March 31, 2025

                                            MARY M. ROWLAND
                                            United States District Judge




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